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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20006-06-BC
v.                                                            Honorable Thomas L. Ludington

MICHAEL BELL,

               Defendant.

__________________________________________/


     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
 DEFENDANT’S PLEA OF GUILTY AS TO COUNT TWO, AND TAKING THE RULE
              11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on November 13, 2009, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

November 13, 2009, recommending that this Court accept the defendant’s guilty plea. As of today’s

date, no party has filed any objections to the magistrate judge’s report and recommendation. The

failure to file objections to the report and recommendation waives any further right to appeal. Smith

v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Likewise, the failure

to object to the magistrate judge’s report releases the Court from its duty to independently review

the record. Thomas v. Arn, 474 U.S. 140, 149 (1985). The Court, however, agrees with the findings

and conclusions of the magistrate judge.

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 151] is ADOPTED.
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      It is further ORDERED that the defendant’s guilty plea as to the lesser included offense of

count two is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 149] is taken UNDER

ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: December 7, 2009


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on December 7, 2009.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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